






Opinion issued June 6, 2002










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00360-CV

____________


C.H. HARVEY, INDIVIDUALLY &amp; D/B/A THE HOYA GROUP, S.C.,  Appellant


V.


FOREIGN TRADE EXPORT PACKING CO.,  Appellee






On Appeal from the 113th District Court

Harris County, Texas

Trial Court Cause No. 00-38705






O P I N I O N

	Appellant has filed a motion to dismiss his appeal.  More than 10 days has
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed without prejudice.  Tex. R. App. P.
42.1(a)(2).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Hedges, Jennings, and Keyes.

Do not publish. Tex. R. App. P. 47.


